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1    KEVIN V. RYAN (CASBN 118321)
     United States Attorney
2
     EUMI L. CHOI (WVSBN 0722)
3    Chief, Criminal Division
4    BLAKE D. STAMM (CTBN 301887)
     Assistant United States Attorney
5
        450 Golden Gate Avenue, Box 36055
6       San Francisco, California 94102
        Telephone: (415) 436-7210
7       Fax: (415) 436-7234
8    Attorneys for Plaintiff
9                                 UNITED STATES DISTRICT COURT
10                              NORTHERN DISTRICT OF CALIFORNIA
11                                     SAN FRANCISCO DIVISION
12   UNITED STATES OF AMERICA,                     )       No. CR 05 00284 SI
                                                   )
13           Plaintiff,                            )       [PROPOSED] ORDER AND
                                                   )       STIPULATION FOR CONTINUANCE
14      v.                                         )       FROM APRIL 21, 2006 TO APRIL 28,
                                                   )       2006 AND EXCLUDING TIME FROM
15   AKRAM SABAR CHAUDHRY,                         )       THE SPEEDY TRIAL ACT
       a.k.a. Akram Sabar, and                     )       CALCULATION (18 U.S.C. §
16   MOHAMMAD ADIL                                 )       3161(h)(8)(A))
       a.k.a. Adil Mohammad,                       )
17
             Defendants.
18
19
             With the agreement of the parties, and with the consent of the defendants, the Court
20
     enters this order continuing a scheduling and trial setting appearance before the district court
21
     from April 21, 2006 to April 28, 2006 at 11:15 A.M. before the Honorable Susan Illston, and
22
     documenting the defendant’s exclusion of time under the Speedy Trial Act, 18 U.S.C. § 3161(b),
23
     from April 21, 2006 to April 28, 2006. The parties agree, and the Court finds and holds, as
24
     follows:
25
        1. Government counsel will commence a felony prosecution trial before the Honorable
26
     Marilyn Hall Patel on April 18, 2006. Trial will likely not be completed until April 24, 2006.
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28
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1       2. All parties agree to an exclusion of time under the Speedy Trial Act. Failure to grant the
2    requested continuance would unreasonably deny the government continuity of counsel and
3    reasonable time necessary for effective preparation, taking into account the exercise of due
4    diligence.
5       3. Given these circumstances, the Court finds that the ends of justice served by excluding the
6    period from April 21, 2006 to April 28, 2006, outweigh the best interest of the public and the
7    defendants in a speedy trial. § 3161(h)(8)(A).
8       4. Accordingly, and with the consent of the defendants, the Court orders that the period from
9    April 21, 2006 to April 28, 2006 be excluded from Speedy Trial Act calculations under 18
10   U.S.C. § 3161(h)(8)(A) & (B)(iv).
11
12          IT IS SO STIPULATED:
13
14   DATED: April 11, 2006         _______________/S________________
                                         STEVEN F. GRUEL, ESQ.
15                                       Attorney for Defendant Chaudhry
16   DATED: April 11, 2006         ________________/S_______________
                                         DAVID L. ANDERSON, ESQ.
17                                       Attorney for Defendant Adil
18   DATED: April 11, 2006         ________________/S_______________
                                         BLAKE D. STAMM
19                                       Assistant United States Attorney
20          IT IS SO ORDERED.
21
22   DATED: ______________                _______________________________
                                          HON. SUSAN ILLSTON
23                                        United States District Judge
24
25
26
27
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